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                   IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAI‘I
  NATIONAL ASSOCIATION FOR                    Civil No. 1:22-cv-404-DKW-RT
  GUN RIGHTS; RONDELLE AYAU;
  JEFFREY BRYANT,
                                              DECLARATION OF RYAN BUSSE
                Plaintiffs,

        v.

  ANNE E. LOPEZ, in her official
  capacity as Attorney General for the
  State of Hawai‘i,

                Defendant.


                         DECLARATION OF RYAN BUSSE

       I, Ryan Busse, declare under penalty of perjury that the following is true and

 correct:

       1.     I am a former senior executive in the firearms industry and the author

 of Gunfight: My Battle Against the Industry that Radicalized America (New York:

 PublicAffairs, 2021).

       2.     This declaration is based on my personal knowledge and experience,

 and if I am called to testify as a witness, I could and would testify competently to

 the truth of the matters discussed in this declaration.




                              EXHIBIT "2"
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                    BACKGROUND AND QUALIFICATIONS

       3.     I was raised with firearms as an integral part of my life. I began

 shooting with various guns as a young boy and continued to regularly use and

 study guns throughout my life (I am now 52). After graduating college, I entered

 the firearms industry in 1992. I became a sales executive in the firearms industry

 in 1995, and I spent more than 25 years in this role. While in the industry, I

 developed innovative sales teams, maintained relationships with the largest

 national retailers, and was responsible for worldwide sales of millions of firearms.

 I built a dealer-direct sales network that included more than 2500 firearms dealers

 including locations in all 50 states, and I regularly visited these dealers. In my job,

 I also studied and built sales programs that relied on understanding the technical

 nature of most firearms available in the U.S. market, including AR platform guns

 and other types of rifles and pistols. During my career, I played an integral role in

 building one of the largest firearms companies in the United States, Kimber, and I

 was nominated by shooting industry leadership many times for the SHOT Business

 “Shooting Industry Person of the Year” Award. I served in an executive sales

 capacity as Vice President of Sales until August 2020. While in the industry I

 served as an advisor to the United States Senate Sportsmen’s Caucus, and as the

 North American board chairman for Backcountry Hunters & Anglers, a national

 wildlife conservation and hunting organization.


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       4.     A copy of my curriculum vitae is attached to this declaration as

 Exhibit A.

       5.     I left the firearms industry because I was concerned about what I

 believed to be irresponsible and dangerous marketing and sales practices. Since I

 left, I have served as an advisor to the 2020 Biden presidential campaign, I have

 testified twice before the U.S. Congress about the firearms industry and gun policy

 (before the House Committee on Oversight and Reform and the Joint Economic

 Committee, respectively), I have been called to testify in closed-door briefings at

 the U.S. Senate, and I currently serve as a Senior Advisor to Giffords. I remain a

 proud and active gun owner, outdoorsman, and advocate for responsible gun

 ownership.

       6.     I have provided expert witness testimony in Miller v. Bonta, No. 3:19-

 cv-01536-BEN-JLB (S.D. Cal.); Duncan v. Bonta, No. 3:17-cv-1017-BEN-JLB

 (S.D. Cal.); Oregon Firearms Federation Inc. v. State of Oregon, No, 2:22-cv-

 01815-IM (D. Or.); Brumback v. Ferguson, No. 1:22-cv-03093-MKD (E.D.

 Wash.); and National Association for Gun Rights v. City of Highland Park, Illinois,

 No. 1:22-cv-04774 (N.D. Ill.).

       7.     I have been retained by the Department of the Attorney General, State

 of Hawaii to provide expert testimony in litigation challenging Hawaii’s assault

 pistol and large capacity magazine regulations. I am being compensated at a rate


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 of $350 per hour for my work on this declaration, as well as for any travel or

 testimony connected with this matter, and at $150 per hour for any consultation

 work.

                                       OPINIONS

         8.    I have reviewed the pertinent Hawaii law which regulates the sale of

 assault pistols and large capacity magazines, and I am familiar with the features

 and function of both.

         9.    With regards to opinions I offer below pertaining to the features and

 characteristics of assault weapons, I focus on features addressed in the Hawaii law

 that are also generally found on most such weapons regardless of platform. I pay

 particular attention to AR-15 platform firearms because firearms based on this

 particular platform are now by far the most prevalent assault pistols and assault

 rifles in the United States and are therefore particularly illustrative of the issues in

 this case.

         10.   Semiautomatic pistols, rifles and shotguns, including AR and AK-

 platform pistols and rifles, are capable of firing one shot per each pull of the

 trigger. Centerfire firearms are chambered with centerfire ammunition, which has

 the primer (the component that ignites the propellant) located in the center of the

 base of the cartridge case (as opposed to the rim of the cartridge). Today’s modern

 rimfire ammunition is almost always confined to small and less powerful


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 cartridges, such as the .22LR. Bullets fired from these cartridges are small and

 light and move much slower than almost all centerfire rifle ammunition. Rimfire

 chamberings are common in youth and “beginner” hunting rifles because they are

 relatively quiet and inexpensive and have low recoil. Conversely, modern

 centerfire ammunition requires a detonation of a primer in the center of the

 cartridge (CENTERfire) and these cartridges are generally much more powerful

 than rimfire cartridges. As an example, the .223, which is the most common AR-

 15 cartridge, fires bullets at more than 3000 feet/second, whereas a rimfire

 cartridge typically propels bullets at around 1100 feet/second. This increased

 centerfire velocity greatly increases the range and lethality of centerfire cartridges.

 Most handgun cartridges are also now centerfire, and these cartridges generally fire

 bullets much larger than rimfire cartridges, usually at velocities of between 800

 and 1500 feet/second. Generally, centerfire weapons fire higher-caliber

 ammunition and/or fire it at higher velocities.

       11.    While there are many assault pistol variants, AR-15 pistols are now

 the most commonly sold assault pistol in the United States, and are near direct

 copies of AR-15 rifles with two notable exceptions; First, these guns incorporate a

 barrel shorter than 16 inches which means the gun in rifle form would be deemed

 illegal under the 1934 NFA which regulates “SBRs” or “Short Barreled Rifles.”

 Second, they have no rear stock (the portion of a rifle used to stabilize the firearms


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 against a shoulder while firing). The absence of a stock is purposeful because this

 is the feature that designates the gun as a rifle. Generally speaking most all AR-15

 pistols now manufactured and sold incorporate a system on the rear of the gun to

 allow easy attachment of what in effect becomes a “stock replacement.” Even

 though there is now a concerted gun industry effort to publicly label these guns as

 “pistols” in order to imply compliance with the federal regulation, inside the

 industry, these guns are considered to be “shortened AR-15s” because they are

 shortened AR-15 rifles.

       12.    These guns are now generally sold and marketed as a smaller, more

 portable and more versatile version of the AR-15. Notable gun industry website

 Guns.com enumerates the advantages of AR-15 pistols like this: “The AR pistol

 has the advantage of being more concealable and maneuverable in tight spaces.

 That, coupled with a large round capacity, make it a great choice in close-quarter

 encounters.” 1 Once the pistols are outfitted with braces or other similar

 accessories, they can be fired as a pistol, as a “braced” pistol (the attachment

 clamps to or braces against the forearm of the shooter to “stabilize” the gun) or can

 be deployed in near-identical fashions to rifles.




 1
  Review of AR-15s: https://www.guns.com/news/reviews/ar-pistol-vs-ar-rifle-
 what-should-you-pick (last visited Feb 9, 2023)

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       13.    This is a photo of a non-braced AR-15 pistol being shot without a

 brace but with the aid of a “sling.”




  This is a photo of an AR-15 pistol equipped with an arm brace:




 This is a photograph instructing shooters how to shoot an AR-15 pistol. The AR-

 15 pistol in the photo is also equipped with an angled forward grip (Angled grips




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 legal, vertical grips are deemed illegal by NFA regulations). This is from a notable

 industry training site, The Firearms Training Blog: 2




 This is a photo from a notable industry site, Wing Tactical. The photo is meant to

 instruct shooters how to shoot an AR-15 rifle equipped with vertical forward grip

 (similar to the angled grip on the AR-15 pistol in the preceding photo). Note that

 the shooter, stance, aiming and grip are nearly identical to the AR-15 pistol above3:




 2
   Photo from Firearms Training Blog:
 https://mckinneyfirearmstraining.com/wordpress/ar-15-pistol/ (Last viewed Feb 1,
 2023)
 3
   Wing Tactical instruction on how to fire AR-15 rifle with forward grip.
 https://www.wingtactical.com/blog/how-to-properly-use-a-fore-grip/ (last viewed
 Feb 1, 2023)

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       14.    The AR-platform, in particular, is the civilian version of the military’s

 select-fire M-16 and M-4 rifles, which are capable of fully automatic or burst

 firing. Based on my familiarity with the firearms industry, AR-platform rifles and

 similar semiautomatic rifles did not begin to sell in significant numbers until the

 late 2000s and particularly after the 2012 shooting at Sandy Hook Elementary in

 Newtown, Connecticut.

       15.    Because of years of self-imposed gun industry resistance to marketing

 these guns, related years of lingering industry doubts as to the legality of AR-15

 pistols equipped with braces or similar accessories with regards to the NFA

 regulations, and because assault pistols are relatively difficult to fire accurately

 without a stock or stabilizing device, the pistol version of the AR-15 has been

 much slower to gain industry acceptance and popularity. It is my experience that

 these guns have only been openly discussed, marketed and sold by reputable

 companies in any meaningful volume since about 2016, with the majority of sales

 happening in the last 2-3 years (2020-2023).


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       16.    Less than a decade ago most companies did not market AR-15 pistols.

 Most companies that market AR-15 pistols today introduced them very recently. A

 notable example is Smith and Wesson that introduced their Military and Police

 AR-15 pistol in Dec, of 2020.4

       17.    The AR-platform is highly modular, enabling owners to customize

 their rifles with a variety of interchangeable components. Some components of a

 firearm, such as a trigger mechanism or barrel, are integral to its operation, and the

 firearm will not function properly without them. But the particular components

 which qualify a weapon as an assault pistol under Hawaii law if it is equipped with

 them, are not integral to the basic operation of any firearm and are not necessary to

 use a firearm effectively for self-defense or sporting purposes, such as hunting. I

 address some of these features in the following points.

 A.    Features of assault weapons which apply to both assault rifles and
       assault pistols

       18.    Pistol grip. Pistol grips beneath the action of a rifle or shotgun are

 not necessary to operate those weapons as designed. For AR-15 pistols, this

 feature is a more integral part of the gun until the stock or brace is attached, after

 which the gun becomes nearly identical to an AR-15 rifle. In my experience, most



 4
  Introductory review of Smith and Wesson AR-15 pistol from Dec of 2020.
 https://www.thefirearmblog.com/blog/2020/12/10/smith-wesson-introduces-new-
 mp15-pistol/ (last viewed Feb 1, 2023)

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 AR-15s pistols are equipped by their owner with a brace or similar “stock.” A

 pistol grip is a feature incorporated into some firearm stocks or as a piece separate

 from the stock, that allows the shooter to control and aim the weapon during

 periods of rapid fire. For many decades, non-pistol grip stock designs have been

 standard on firearms such as Remington 870 shotguns, which are widely accepted

 to be among the most effective home defense guns ever built and which have been

 leading sellers in the firearms market. Even on AR-15s and similar rifles, stocks

 that do not incorporate this feature are currently sold in states such as California,

 and prominent, widely referenced firearms authorities on these topics, such as

 www.caligunner.com, assess those options and the function of these “compliant”

 (non-pistol grip) rifles in this manner: “Everyone has a preference on what looks

 the ‘best’ but the top picks below are all great functioning options.”5 As also

 noted on that website, while “[s]ome people that are critical of the featureless

 option complain of the aesthetics of the available options,” “the overall function of

 the rifle is mostly maintained,” and “several companies continue to innovate and

 provide new products that look decent and perform well considering the constraints

 of the law.” While a pistol grip beneath the action of an AR-15 may be useful

 during military operations because it helps the shooter stabilize the weapon and



 5
  https://caligunner.com/california-compliant-featureless-rifle/ (last visited Dec. 30,
 2022).

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 reduce muzzle rise during rapid fire, a pistol grip is not necessary to operate a

 firearm safely in lawful self-defense situations.

         19.   Forward Grip, Foregrip, Protruding Grip, or Second Handgrip.

 Held by the non-trigger hand, this feature is designed to aid in firearm stabilization

 during the rapid firing of assault rifles and assault pistols. The feature first gained

 prominence inside special operations military units where “cluttering” from

 accessories and extreme heat generated from the rapid firing of rifles were

 problems for troops in wartime situations. This feature is also found on some

 assault pistols, which are generally shortened versions of assault rifles and are

 therefore more difficult to stabilize during rapid fire. This feature allows the

 shooter of these pistols to better control the muzzle during firing. These grips can

 also aid in rifle stabilization during magazine changes thereby reducing time to

 reload for some shooters. A concise description of the feature’s first official origin

 on assault rifles is found in this firearms industry review from Lucky Gunner:

 “One of the items issued in this kit was a Knight’s Armament vertical forward grip,

 and it was included in order to deal with the problem of the forward rails becoming

 too cluttered to hold correctly when the other accessories were mounted. It also

 retained the benefits of recoil control and heat mitigation that made it a popular

 feature on submachine guns.” 6 As this article details, forward grips were


 6
     https://www.luckygunner.com/lounge/how-to-hold-an-ar15-foregrip/ (last visited

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 developed as a feature for troops charged with fast and efficient killing of enemy

 combatants in offensive warfare, but in my opinion they are not a necessary feature

 for self-defense.

       20.    Flash Suppressors. Flash suppressors are devices that are attached to

 the muzzle of a firearm to reduce or redirect the flash when shooting. This feature

 is affixed to military rifles to redirect the light (muzzle flash) generated from the

 burning of gasses while firing which reduces the prevalence of “night blindness”

 that can develop during low-light firefights. A flash suppressor also disguises the

 origin of fire and avoids detection by enemy forces but has marginal benefit in

 civilian self-defense situations, even in low-light conditions. As evidence for the

 lack of self-defense necessity for this feature, it is widely accepted that the most

 effective self-defense guns are handguns and home-defense shotguns. These

 firearms also produce muzzle rise and muzzle flash just like an AR-15 (or other

 assault rifles) and yet none require a “flash suppressor” to operate effectively in

 self-defense situations, and I am not aware of any industry authority or

 advertisement that has ever claimed that such a firearm will not function as

 designed without such a device. Generally speaking, a “flash” emanates from

 almost all firearms when fired and if the guns are properly designed for self

 defense, the cartridge size will be properly paired to the barrel which means


 Jan. 10, 2023).

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 muzzle flash will not be exceptional compared to other firearms that are accepted

 as the best self defense guns.

       21.    Barrel Shroud. A shroud or handguard is a feature of assault

 weapons designed to shield the non-trigger hand of the shooter from barrel heat

 generated during rapid fire. Shrouds generally encircle the barrel beginning at the

 receiver and then extending down the barrel. The “forend” of a common hunting

 or target long gun stock is similar in that it is designed for the non-trigger hand of

 the shooter but on non-military guns the forend generally only “cups” or shields

 the bottom half of a barrel and does not generally envelop or encircle the entire

 barrel. These stock forends on target and sporting guns are not referred to as a

 shroud. In recent years, barrel shrouds on many assault weapons and especially

 AR-15 derivatives, have evolved to incorporate highly technical attachments

 systems which allow the shooter to attach various accessories meant to increase the

 performance and lethality of the weapons. Examples include lights, optical sights

 and laser aiming devices. In my opinion, shrouds are useful in military operations,

 especially in offensive battles involving high rates of fire, but they are not a

 necessary component for self-defense firearms.

       22.    Threaded Barrels: Threaded barrels are firearm barrels that are

 sometimes slightly lengthened (on most handguns) and modified or “threaded” on

 the end to accept “suppressors” (on both handguns and rifles). The term


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 “suppressor” is often used interchangeably with “silencer.” While there is no

 device that completely silences a gunshot, suppressors are designed to greatly

 reduce the sound of a gunshot, and modern suppressors are very effective, but not

 necessary for any gun to function in a self-defense situation.

       23.    Pistol Braces, Arm Braces, Stabilizing Braces, and Buffer Tubes:

 In recent years because of the greatly increased focus on and sales of “AR-15

 pistols” these aftermarket parts have gained quick prominence. As discussed

 earlier, the lack of a stock on these guns is generally a result of firearms

 manufacturers attempting to comply with the 1934 National Firearms Act (NFA),

 which regulated short-barreled rifles in response to the organized crime gang

 murders of the 1930s, many of which were centered in the Chicago, IL area.

 Those crimes often involved short-barreled firearms such as the Thompson

 submachine gun. Modern NFA-compliant rifles must not have barrels shorter than

 16 inches (SBR or Short Barreled Rifle is the term for rifles that do not comply

 with the minimum 16-inch NFA requirement). But almost all pistols have barrels

 shorter than 16 inches, and so many companies produce and sell “AR-15 pistols”

 which generally appear to be an SBR but without a stock attached and that creates

 a market for these parts. Firing of these firearms without some sort of “stock” or

 “stabilizing device” or “pistol brace” is difficult and inaccurate, and hence many

 manufacturers have developed various forms of stock replacements or stabilizing


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 braces which in general function as a form of easily-attached stock for the AR-15

 pistols. The attachment of these devices to the AR-15 pistols converts the gun into

 what is potentially a violation of the NFA regulations discussed above. Arm

 braces function similarly but brace against the forearm instead of shoulder. A

 buffer tube is a device that extends behind a semi auto receiver to which a stock

 attachment is often affixed. AR-15 style pistols with pistol brace devices were

 used in the recent Boulder, CO and Dayton, OH mass shootings. 7

 B.    Magazines and Capacity

       24.    Detachable Magazines, Large Capacity Magazines, Large

 Capacity Ammunition Feeding Devices. Magazines are containers which hold

 ammunition in spring-loaded preparation for feeding into the receiver of a firearm.

 Clips, while sometimes confused with magazines, are different and can generally

 be described as small holding devices that retain cartridges in preparation for faster

 loading into magazines. Magazines can either be “fixed,” meaning they are

 integral within the gun, or “detachable,” meaning they are not internally or

 permanently attached to the firearm. Many firearms, including some of the most

 revered self-defense firearms ever built, incorporate fixed magazines which means

 that these containers are permanently affixed to, or inside the firearm. Examples


 7
  Article regarding regulation of the pistol brace devices used in Boulder and
 Dayton: https://www.cnn.com/2023/01/13/politics/doj-rule-pistol-stabilizing-
 braces/index.html (Last viewed Jan 31, 2023)

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 include most pump and semiautomatic shotguns where a tubular magazine is

 affixed under the barrel. Magazines of this sort can be temporarily or permanently

 “plugged” or shortened to regulate capacity. Many rimfire rifles, including many

 semiautomatic designs, incorporate the same general fixed tubular magazine

 design. Most lever action rifles use the same sort of tubular magazine. Many bolt-

 action hunting rifles utilize a fixed “box magazine” design in which ammunition

 must be loaded into the permanent “box” below the bolt, and then fed into the

 receiver from that magazine with each cycle of the bolt.

       25.    For “fixed magazine” firearms, in order to reload, the shooter must

 stop shooting and reload the magazine one cartridge at a time before resuming

 shooting. Conversely, detachable magazines enable a shooter to replace an empty

 or depleted magazine with a fresh magazine to resume firing in a manner that is

 much faster than stopping to reload fixed magazines. Unlike fixed magazines,

 detachable magazines can be preloaded and transported at the ready with the gun,

 effectively greatly increasing the potential number of rounds fired in any given

 period of time. For example, a competent shooter with a common fixed-magazine

 bolt-action rifle may be able to accurately fire 15-20 rounds per minute with long

 pauses to reload whereas a competent shooter with an AR-15 (either rifle or pistol)

 and preloaded large capacity magazines can accurately fire more than 100 rounds

 per minute with very short pauses to change magazines.


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       26.    Detachable magazines may hold as many as 100 or more ammunition

 rounds but will also function with a single round. It is my experience that

 magazines which limit capacity to as few as 5 rounds are commonly available and

 are often legally mandated for hunting in many states. For AR-15s, these

 magazines function identically in either rifle or pistol versions. It is my experience

 that even if large capacity magazines are available or sold with firearms today, all

 firearms companies offer lower capacity options (often 10 round versions to

 comply with laws in various states).

       27.    Despite the recent proliferation of large capacity magazines, it is

 important to note that there is no known firearm that requires a large capacity

 magazine to function as designed. By this I mean that all firearms that can accept a

 large capacity magazine can also accept a magazine that holds fewer rounds and

 still function precisely as intended. This is true even of AR- and AK-platform

 rifles. Although many of these rifles are sold with a 30 round magazine, the

 manufacturers all offer the optional purchase of 10 round or even lower capacity

 magazines and could easily offer magazines limited to almost any given round

 count. There are many pistols (such as the very popular Model 1911—which was

 the accepted defensive sidearm of the U.S. Military for decades and is still one of

 the most widely owned self-defense guns in the United States) that are built for

 magazines of eight rounds or less. Other widely popular guns such as the Sig P938


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 are also designed to function with seven or eight round magazines and these guns

 have been widely acclaimed by dozens of notable firearms industry experts as

 among the most effective concealed carry/self-defense firearms on the market. 8

 While larger 10-plus round magazines exist for these pistols, a smaller magazine

 (standard seven or eight round) is considered preferable by almost all consumers

 because the physical size/profile of the shorter magazine is easier to carry, shoot

 and conceal.

       28.      Still today, guns such as the 1911 and Sig938 are built to function

 with sub-10 round magazines. With regards to the 1911 design, it is so respected

 that direct copies are currently reproduced by many gun companies (Smith &

 Wesson, Ruger, Kimber, Springfield, Rock Island, Dan Wesson, and many other

 companies build and sell these 1911 pistols) and they are sold in high volumes by

 most retailers in the United States. These guns are still considered extremely

 effective self-defense firearms by many of the leading firearms trainers in the

 country and are widely labeled as an “expert’s gun.” For AR-15s and handguns,

 even where magazines with capacities of more than 10 rounds are prevalent, the

 industry always offers 10-round or “compliant” magazines as an option. I am not

 aware of a single case where those magazines have been advertised as inadequate



 8
  USA Carry review of Sig 938 9mm handgun: https://www.usacarry.com/sig-
 sauer-p938-subcompact-9mm-review/ (last visited Jan. 10, 2023).

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 or ineffective, and I am not aware of any other expert or industry advertisement

 that claims these magazines render a gun defective or unable to function in self-

 defense situations.

       29.    Self-defense and magazine capacity. Guns such as the Sig 365

 which has standard magazine capacity of 10, and the 1911 pistols mentioned above

 are considered top self-defense choices. Additionally, revolvers have always been

 considered a top choice for self-defense given their reliability. Revolvers almost

 always have a 5 or 6 round capacity. Self-defense shotguns function as designed

 with magazines of 5 or fewer rounds. There are many highly regarded self-defense

 firearms that are “standard” without high capacity magazines and all

 semiautomatic guns will function as designed without a high capacity magazine.

       30.    Magazines as accessories. Because a large capacity magazine is not

 a required component for a firearm to operate, it is characterized as an accessory

 by the industry. There is a massive market for magazines that far surpasses that of

 the market for firearms themselves in terms of numeric sales. There are

 companies, such as Magpul, that entirely specialize in firearms accessories,

 including large capacity magazines. In fact, most firearms manufacturers do not

 consider the magazine as integral enough to build their own magazines for their

 own guns. In almost all cases, even the largest gun manufacturers contract with

 accessory makers who build magazines and then supply them to the gun


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 manufacturer, who then sells the magazines with the guns but also as an “add-on”

 accessory. This is not true of other more integral components such as barrels,

 triggers and firing pins. Based on my experience, these magazines are a large

 profit center for the gun industry and sales of these magazines are treated as a

 category separate from gun sales throughout the sales chain. For example, I am

 aware of compensation programs from gun manufacturers that offer increased

 percentage in sales commission payments for sales of magazines as opposed to

 firearms. Retailers often incentivize their employees to push a buyer to purchase

 additional magazines because it is known that consumers view the purchase of

 magazines as separate from the gun and they are therefore viewed as “add-on

 sales” for retailers.

        31.    Almost always, these magazines are manufactured by outside

 contracted suppliers (not the manufacturer of the firearm). The degree to which a

 magazine is viewed as an accessory by firearms retailers is reinforced by the fact

 that when manufacturers add additional magazines to the gun at time of sale as an

 incentive to encourage consumers to purchase the gun, the practice often upsets the

 retailers who view this as taking away an accessory sale they could have made.

 Below is a recent promotion from a firearms manufacturer which both advertises

 magazines as sales incentives and offers 10-round magazine options:




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 C.    History And Marketing of AR-15s and Similar Assault Weapons

       32.    While there is no universally accepted definition of assault weapon,

 the term generally refers to a firearm that incorporates a set of physical features

 that increase the effectiveness of killing enemy combatants in offensive battlefield

 situations, usually in close and medium-range warfare. This list of features

 generally includes but is not limited to, the features enumerated in the Hawaii law

 and includes pistol grips, semi-automatic or fully-automatic fire control systems,

 the capability to accept detachable magazines, and barrel shrouds.

       33.    All AR-15 firearms (including all AR-15 pistols) are derivatives of the

 Armalite Rifle (AR) model 15, which was originally designed for the United States

 Military in the late 1950s. The AR-15 was specifically designed to satisfy clearly

 stated military requirements for an assault rifle. The AR-15 incorporated features

 that achieved these requirements, which included: being lightweight, easily

 portable, accurate, high-capacity-capable, low recoil, and fast-firing. The AR-15

 was therefore adopted by the U.S. military in the early 1960s. The firearms

 industry openly referred to these and all similar weapons as “assault weapons” and

 “assault rifles” as late as 2008, as evidenced by this 2008 issue of Gun Digest,




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 which is commonly accepted in the industry as a prominent authority and

 advertising venue:9




       34.   One important feature of the AR-15 (and other similar platforms like

 the AK-47) is the “chambering” or cartridge the rifle is designed to accept. The

 standard cartridge for the AR-15 is a .223Rem (5.56 is NATO equivalent) which

 was selected by the military for very specific reasons. While it is commonly



 9
   One of many listings for archived issues of Gun Digest for sale from various
 resellers: https://www.amazon.com/Digest-Book-Assault-Weapons-
 Fifth/dp/087341778X (last visited Jan 30, 2023).

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 reported that the AR-15 is a “high power” weapon, the .223 cartridge is not in fact

 “high power” compared to almost all other hunting rifles that have been sold for

 more than a century in the United States. As an example, a common .30-06Spfg

 bolt-action hunting rifle is much more powerful than an AR-15 chambered in .223

 when individual shots from each are compared. The .223 (and other similarly

 sized cartridges common in modern assault rifles) were not chosen because they

 are “high power” relative to most rifle rounds (although they are more powerful

 than handgun rounds). Instead, they were chosen for their combination of small

 size, fast bullet speed, and low recoil impulse, which were all specifically

 requested in the military requirements. The bullets from these smaller and faster

 cartridges are very deadly at short and medium ranges. These cartridge

 characteristics were selected because they result in a rifle that can be high-capacity,

 accept loaded magazines which are easy to transport, and also be very easy to fire

 repeatedly while staying on target. The reasoning for the military decision on this

 chambering is summed up in this article from Business Insider: “The smaller

 rounds weighed less, allowing troops to carry more ammunition into the fight.

 They also created less recoil, making it easier to level the weapon back onto the

 target between rounds and making automatic fire easier to manage. Tests showed

 that troops equipped with smaller 5.56 mm rounds could engage targets more




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 efficiently and effectively than those firing larger, heavier bullets.” 10 This is why

 AR-15 and AK-47 platform weapons remain the assault weapon of choice for

 military operations in short and medium range scenarios where repeated and

 accurate offensive shooting is desired. These are the same general attributes which

 appear to be desired by many recent mass shooters in the United States.

       35.    For AR-15 pistols, the potential bullet velocity of these cartridges is

 generally decreased due to the shortened barrel. This is true because longer barrels

 provide more burn time for the propellant (gun powder). Generally speaking, the

 short barrels of assault pistols do not allow enough time for all powder to burn or

 propel the bullet. This reduced velocity generally results in a gun that fires a bullet

 with a muzzle velocity of around 2300-2600 feet per second. This is much faster

 than most other pistols, but slower than full length rifle versions which generally

 fire bullets with velocities of 2700-3000 feet per second. This is considered a

 performance drawback of the guns. However, the increased portability of the

 pistol versions is considered an advantage in tight spaces such as urban settings

 and inside buildings. Two notable mass shooting events involving AR-15 pistols




 10
   Story on background of AR-15 and chambering history
 https://www.businessinsider.com/why-did-us-military-switch-from-762mm-round-
 to-556mm-2019-9 (last visited on Jan. 27, 2023).


                                           26
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 occurred in crowded urban environments. One in a crowd outside a Dayton, OH,

 bar and one in a grocery store in Boulder, CO.

       36.    Military versions of the AR-15 are generally capable of “fully

 automatic” and “burst” rates of fire. These automatic firing modes, which produce

 multiple shots with one trigger pull, are generally used not to target and kill

 individual combatants but rather to suppress enemy fire. An article from SOFREP,

 (a respected digital outlet written and maintained by “former American and US

 Coalition Military Veterans”) reinforces this truth with this statement: “In combat,

 automatic weapons are more commonly employed as a means of suppressing

 enemy movements than they are in actually killing the enemy.”11 Therefore,

 “semi-automatic” mode is the mode that is most often deployed in battle to

 efficiently target and kill because it allows targeting of specific human targets with

 repeated accurate shots rather than inaccurate, indiscriminate “spray.” It is my

 experience that respected Special Forces trainers therefore teach that “semi-auto” is

 the preferred and most lethal setting in most wartime scenarios.

       37.    United States civilian-legal versions of the AR-15 (and other “assault

 weapons” sold into the U.S. commercial market) are semi-automatic firearms.




 11
   Article on full auto or semiautomatic from SOFREP
 https://sofrep.com/news/how-are-automatic-weapons-actually-used-by-militaries-
 in-combat/ (Last visited Jan 30 2023).

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       38.    While the AR-15 and its derivatives are by far the most common

 assault-style weapons in the United States, there are many other firearms that share

 the same purpose and generally have the same defining features. Those firearms

 include firearms utilizing all or part of the AK-47 platform as well as many others.

       39.    The original patent for the gas operating system central to the AR-15

 being rapidly fired with minimal recoil expired in 1977,12 which subsequently

 allowed the engineering prints for the AR-15 to be publicly available to all

 firearms companies. From that point forward, there could have been a large-scale,

 immediate, and legal proliferation of direct copies of these rifles into the United

 States commercial market. But that did not happen, at least not until nearly two

 decades later. In fact, when I first started my work in the gun industry in the

 1990s, assault weapons, including AR-15s, were not common, and within the gun

 industry the acceptance or promotion of this product category was thought to be

 irresponsible and potentially dangerous.

       40.    This former self-imposed industry “regulation” is evidenced in the

 commercial sales of AR-15s. During the period between 1964 and 1994, first for

 Colt, and then also for all companies who produced the guns after Colt’s patent

 sunset, commercial AR-15 sales averaged fewer than 27,000 units per year for a



 12
   Gas Operated Bolt and Carrier System, U.S. Patent No. 2,951,424 (accessible at
 https://patents.google.com/patent/US2951424A/en).

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 total of about 787,000 units in the 30-year period 1964-1994.13 Even during the

 10-year period of the federal assault weapons ban (1994-2004), AR-15s were legal

 to produce and sell as long as they did not incorporate and combine additional

 features as enumerated in that legislation. Even after that federal legislation

 expired, the gun industry did not immediately begin producing or selling these

 guns in large numbers. That is because there was a continued general agreement in

 the industry that these guns, which were very clearly designed for military-style,

 offensive (i.e., attacking) use, and related gun paraphernalia—including virtually

 all large capacity magazines, which were generally also considered to be for

 military-style, offensive use—would not be displayed at trade shows or used at

 industry-sponsored shooting events.

       41.    This voluntary prohibition also extended to the largest sporting goods

 retailers in the country, almost none of which would sell or display assault

 weapons or AR-15s or AK-47s in their stores until the mid-2000s. Individuals in

 the shooting industry were asked not to bring such rifles to industry events or

 promote them publicly. The NSSF, which administers the main industry trade



 13
   Estimating AR-15 Production, 1964-2017 (Nov. 9, 2019),
 http://www.alternatewars.com/Politics/Firearms/Count/AR15_Production.htm (last
 visited Jan. 12, 2023) (compiling data from the Bureau of Alcohol Tobacco,
 Firearms & Explosives’ Annual Firearms Manufacturing and Export Reports,
 among other sources).


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 show (SHOT show), also severely restricted the display of military and tactical

 gear or weapons in its own trade show. This remained true as late as 2006. It was

 not until very recently that the gun industry began to push AR-15s and other

 assault-style guns, leading to their well-documented proliferation today. The

 following table of data compiled by the National Shooting Sports Foundation

 (NSSF), the firearms industry trade group, clearly illustrates that sales of such guns

 (MSR, AR-15 and AK-47) have increased by 3927% from 1990 until now, despite

 the fact that no federal, and few state restrictions on such guns existed in 1990.




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 (74,000 units in 1990 versus 2,798,000 in 2020): 14




 14
   https://www.nssf.org/wp-content/uploads/2022/07/EstMSR1990_2020.pdf (last
 visited Jan. 12, 2023).

                                         31
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       42.    It is my experience that this proliferation is the result of a direct and

 purposeful industry marketing effort. In 2009 as part of this effort, the firearms

 industry through the NSSF, facilitated a public re-branding of assault rifles in an

 effort to make them more socially acceptable. As such, the NSSF broadly

 encouraged an industry-wide effort to rename such guns “Modern Sporting Rifles”

 or MSRs. Even though the guns themselves were only steadily “improved” in

 many functional areas that impact lethality of a military assault rifle, industry

 members, including me, were then strongly encouraged to stop using the term

 “assault rifle” or even “tactical rifle” because those terms were thought a too-

 transparent label that referenced offensive military assaults which would therefore

 harm the public perception of such guns and decrease the sales of companies that

 build them. Despite the fact that well into the 2000s, almost everyone in the

 industry used the terms assault weapon and assault rifle, NSSF purposefully sought

 to reframe the origin of this terminology and distance the firearms industry from it

 with statements that are still on the NSSF marketing material and website yet

 today: “If someone calls an AR-15 or other semi-automatic rifle an ‘assault

 weapon,’ he or she either supports banning these firearms or does not understand

 their function and sporting use, or both. Please correct them. ‘Assault weapon’ is

 a political term created by California anti-gun legislators to ban some semi-

 automatic rifles there in the 1980s.” 15


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       43.    While assault pistols are technically separate and therefore not

 considered “MSRs”, they are built on the same platforms, generally marketed in

 the same way, and most are generally considered to be AR-15s. The emergence of

 AR-15 pistols onto the market is relatively new and until recently seemed to many

 gun buyers as a “bad joke.”16 However, recent increases in the models offered and

 in marketing of these guns has resulted in these AR-15 pistols becoming an

 accepted part of most AR-15 product lines.

       44.    During the late 2000s and continuing through today, there has been a

 rapid increase in the number of companies that manufacture and market their own

 versions of AR-15s and other similar assault rifles. This has resulted in a

 transformation of the marketplace from only a few AR-15 manufacturers in 2000,

 to several hundred AR-15/assault weapon companies today. The list of AR-15

 manufacturers now includes small, medium, and the largest firearms companies in

 the United States, all of whom are striving to obtain market share with derivatives

 of what is effectively the same rifle. This reality has created a highly competitive

 market resulting in thousands of “continuous improvements” in the AR-15-style

 firearms sold to the general public as a way to encourage consumers to buy one


 15
    NSSF MSR marketing webpage https://www.nssf.org/msr/ (last visited Jan 20,
 2023).
 16
    Article on the recent acceptance and change for AR-15 pistols
 https://medium.com/war-is-boring/the-ar-15-pistol-seemed-like-a-bad-joke-at-first-
 77d9dad71022 (last visited Jan 31, 2023).

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 rifle over another. Over time, these improvements have generally been

 incorporated on most rifles across the marketplace and therefore result in firearms

 that are almost universally more accurate, more portable, and more specifically

 tailored to produce lethal outcomes. Relative to the AR-15 assault rifles requested

 and then adopted by the U.S. military, the commercially available AR-15s of today

 are more reliable, more accurate, more ergonomic, and therefore more effective.

 This trend of “improvement” continues and is aggressively advertised each day by

 dozens of firearms companies. For example, this is a typical marketing page17 for

 an AR-15 manufacturer in which a prominent company advertises the various ways

 in which its features “improve” upon the basic AR-15:




 17
      https://danieldefense.com/daniel-dna (last visited Jan. 10, 2023).

                                             34
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       45.   The increase in the AR-15 market has also facilitated an increase in

 accessory availability for the AR-15 and similar firearms (commonly referred to as

 “furniture”). Most AR-15s and similar firearms now incorporate features designed


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 to accept one or more of dozens of accessories, all of which are designed and

 marketed to increase the effectiveness of the rifle in live-fire situations. The list of

 accessories includes highly-effective electronic optics, more sensitive triggers,

 devices such as bump stocks and modified trigger systems which convert guns to

 near-fully-automatic rates of fire, forward and pistol grip options, tactical lights,

 laser-pointing devices, high-capacity magazines, and many others. Almost none of

 these accessories were available to the United States military at the time of the

 rifle’s adoption in the early 1960s, and in many cases U.S. civilians can now outfit

 rifles in a manner more lethal than the rifles carried by the military. There are now

 hundreds of companies and retailers who encourage customers to make their rifles

 more effective by accessorizing. The following are examples of industry

 marketing efforts which illustrate this trend. Most all accessories are sold and are

 applicable for AR-15 pistols as well as rifles:18




 18
   AR-15 accessory article examples: https://www.tactical-life.com/gear/top-10-
 black-guns-ar-accessories/ (last visited Jan. 10, 2023), and
 https://www.pewpewtactical.com/best-ar-15-furniture-accessories/ (last visited Jan.
 10, 2023).

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       46.   The competitive AR-15/assault weapon marketplace has also resulted

 in manufacturers seeking to create new customers through professional, targeted

 marketing campaigns. Most of these campaigns overtly target young American

 males, such as this example from 2010:




 The gun advertised in this campaign (Bushmaster XM15 rifle) has been used by

 young men in notable mass shootings, including those in Sandy Hook, CT and


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 Buffalo, NY and Bushmaster offers a pistol version of their AR-15.19

       47.   Other prevalent AR-15 marketing encourages potential customers to

 buy and deploy the same weaponry as elite Special Forces units of the U.S.

 military. It is my experience that most of these customers are young men. In other

 words, marketing within the firearms industry admits to, and capitalizes on, the

 AR-15-style weapons as a military weapon sold to young men, as in this example:




 19
   Bushmaster XM15 Mancard advertising article:
 https://www.ammoland.com/2010/05/bushmaster-man-card/#axzz7q0HQao58 (last
 visited Jan. 10, 2023).

                                         39
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 Daniel Defense AR-15 pistol version:




 Daniel Defense sells a pistol version of this gun and a version of the Daniel

 Defense AR-15 was featured in the Modern Warfare20 video game and used in the

 Uvalde, TX shooting.21

       48.    Smith and Wesson’s AR-15 variant is now widely reported to be the

 best-selling AR-15 in the United States and the company offers the gun in both

 pistol and rifle variants. These guns have been used in notable mass shootings

 including in the Parkland, Florida school shooting and in the Highland Park, IL

 July 4th parade shooting. Smith and Wesson’s primary customers for this rifle are

 U.S. civilians who are generally not trained in military or police tactics nor

 monitored by military safety protocols, but the company’s chosen name for this




 20
    One of many youtube captures of the DDM4 Daniel Defense rifle in Modern
 Warfare: https://www.youtube.com/watch?v=KM_sdzKGKv0 (last visited Jan.
 30, 2023).
 21
    Michael Daly, Uvalde Shooter’s Gunmaker Hypes ‘Revolutionary’ New Killing
 Machine, https://www.thedailybeast.com/uvalde-shooter-salvador-ramos-
 gunmaker-daniel-defense-hypes-revolutionary-new-killing-machine (last visited
 Jan. 10, 2023) (showing Daniel Defense advertisement).

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 rifle—the M&P15, which means “Military and Police AR-15”—suggests buyers

 will be equipped with the same rifles as trained military and police units.22




 Smith and Wesson Military and Police Pistol Version:




 22
   https://www.smith-wesson.com/product/mp-15-sport-ii (last visited Jan. 10,
 2023).

                                          41
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       49.   An increasing number of smaller AR-15 manufacturers often seek to

 grow their market by advertising in ways that depict young men inciting or

 engaging in armed urban warfare, such as in this recent example from AR-15

 maker Spike’s Tactical which offers their AR-15s in several pistol versions, and

 encourages men to deploy their AR-15s in armed conflict across the United

 States:23




 Spike Tactical “Pipe Hitter Union” AR-15 pistol:




                                         42
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          50.   Other AR-15 manufacturers now often seek to spur sales by depicting

 men deploying their personal AR-15s in self-appointed armed vigilante actions,

 such as this advertising image supplied by the AR-15 maker Patriot Ordnance

 Factory, which also offers many AR-15 pistol options along with their AR-15

 rifles:24




 POF-USA Renegade AR-15 Pistol:




 24
      https://pof-usa.com/wallpapers/ (last visited Jan. 10, 2023).

                                             43
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       51.   Some prominent AR-15 companies design and market their models

 with specific suggested uses that bear obvious similarities to mass shooting events

 that have happened in U.S. urban environments such as the Pulse Nightclub, Las

 Vegas Concert Shooting, and the El Paso Walmart shooting. This is one relevant

 example from AR-15 maker Wilson Combat which offers both pistol and rifle

 versions of their AR-15:25




 Wilson Arms AR-15 Pistol:




       52.   There are many AR-15 companies that combine the trends of

 continuous improvement, accessorization, and modern digital marketing to

 encourage potential customers to personalize and optimize their rifles through an


 25
   https://www.wilsoncombat.com/ar-calibers/224-valkyrie/super-sniper/ (last
 visited Jan. 10, 2023).

                                         44
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 online ordering process. Below is one such example.26 The official corporate

 name of this manufacturer further suggests the preferred use of their AR-15s is

 from “rooftops,” which is precisely how the shooter during the July 4th Highland

 Park, IL parade deployed his AR-15 rifle and large capacity magazines. On the

 same website offering Rooftop Arms AR-15 pistols, the company proclaims: “If

 you can dream it, we can build it.”.




 26
      https://rooftoparms.com/ (last visited Jan. 10, 2023).

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 Rooftop Arms AR-15 Pistol:




         53.   In my experience, many individuals and companies in the firearms

 industry who once imposed reasonable self-restraint regarding sales and marketing

 practices now operate under the belief that the Protection in Lawful Commerce in

 Arms Act (PLCAA), 27 which became law in 2005, provides a liability shield for

 product development, sales and marketing efforts. It is also my experience that the

 AR-15/assault weapon marketing as detailed in the examples above has increased

 in frequency and become much more explicit since PLCAA enactment.




 27
      15 U.S.C. §§ 7901–7903.

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          I declare under penalty of perjury that the foregoing is true and correct.

          DATED: Kalispell, Montana February        J!{_, 2023.

                                           RYAN BUSSE




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